         Case 17-11351-TPA                    Doc           Filed 11/16/20 Entered 11/16/20 12:23:13                                      Desc Main
 Fill in this information to identify the case:             Document      Page 1 of 7
 Debtor 1              Milton L. Wallace

 Debtor 2
 Debtor
 (Spouse,3if filing)

      United States Bankruptcy Court for the: WESTERN                                 Pennsylvania
                                                                        District of

      Case number        17-11351


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                     12/15

If you file a claim secured by a security interest in the debtor's principal residence provided for under the debtor's plan pursuant to 11.
U.S.C. § 1322(b)(5), you must use this form to give notice of any changes in the installment payment amount. File this form as a
supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                               PNC Bank, N.A.                                                 Court claim no. (if known):       10
 Name of creditor:



 Last 4 digits of any number you use to                                                         Date of payment change:
 identify the debtor’s account:                         0       7       1             0         Must be at least 21 days after date         01 / 01 / 2021
                                                                                                of this notice


                                                                                                New total payment:                          $   770.60
                                                                                                Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.    Will there be a change in the debtor’s escrow account payment?
             No
        ■ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
for the change. If a statement is not attached, explain why___________________________________________________


                       Current escrow payment: $ 334.33                                    New escrow payment:           $   268.97

 Part 2:         Mortgage Payment Adjustment


 2.    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's
       variable-rate note?
         ■ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _____________________________________________________________


                   Current interest rate:                           %                      New interest rate:                                   %

                   Current principal and interest payment: $                              New principal and interest payment: $


 Part 3:         Other Payment Change

 3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
         ■ No
             Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                       Reason for change: __________________________________________________________________________________

                       Current mortgage payment: $                                         New mortgage payment: $
         Case 17-11351-TPA                        Doc          Filed 11/16/20 Entered 11/16/20 12:23:13                             Desc Main
                                                               Document      Page 2 of 7




Part 4:        Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     X I am the creditor.

         I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.



     %\V Marika Dienes                                                                  Date      11   / 16   / 2020
   Signature




Print:
                  Marika                                       Dienes
                 ___________________ ____________ __________________                           Title   Default Support Specialist
                 First Name                      Middle Name        Last Name



Company          PNC Bank, NA


Address           3232 Newmark Drive
                 Number                 Street


                    Miamisburg                                     OH           45342
                 City                                               State         ZIP Code



Contact phone    ( 866        ) 754   – 0659              Email Bankruptcy@pQFcom
                                               REPRESENTATION OF PRINTED DOCUMENT
           Case 17-11351-TPA                   Doc        Filed 11/16/20 Entered 11/16/20 12:23:13                               Desc Main
                                                          Document      Page 3 of 7




                                                                                                LOAN NUMBER:
                                                                                                   PREPARED: November 06, 2020

           DAVID C OBERG
           145 ELDRED CENTER RD
           GRAND VALLEY PA 16420-4307
                                                                                                CUSTOMER SERVICE 1-800-822-5626

                                                                                                             pnc.com/homehq


                                                               Your Escrow Summary
Real Estate Settlement Procedures Act (RESPA) guidelines require us to provide you with an Annual Escrow Analysis Statement which includes all of
your escrow disbursements from the previous year, as well as your estimated escrow disbursements for the upcoming year. All of the information that is
provided on your enclosed annual escrow analysis statement is regulated by RESPA and cannot be changed. In an effort to simplify the escrow account
information and monthly payment information that is calculated on the original document, we have also included this summary which will provide you with
a quick snapshot of your actual escrow analysis statement. Please note that increases or decreases in your property taxes and/or insurance premiums
will result in a change in your monthly payment amount, and may result in an escrow shortage or surplus.



                                                      New Monthly Payment                               Current Monthly Payment

Payment Effective Date                                       January, 2021                                        January, 2020
Payment Amount                                                    $770.60                                              $835.96

Monthly Payment Breakdown                             New Monthly Payment                               Current Monthly Payment

Principal & Interest                                                 $501.63                                             $501.63
Escrow Items                                                         $264.15                                             $260.07
Escrow Surplus/Shortage Amount                                         $4.82                                              $74.26
Total Monthly Payment                                                $770.60                                             $835.96

Monthly Escrow Collection Amount                      New Monthly Collection Amount                     Current Monthly Collection Amount

Monthly Tax Amount                                                   $177.06                                             $176.74
Monthly Insurance Amount                                              $87.08                                              $83.33
Monthly MIP/PMI Amount                                                 $0.00                                               $0.00
Monthly Surplus/Shortage Amount                                        $4.82                                              $74.26
Total Monthly Escrow Amount                                          $268.97                                             $334.33

Annual Escrow Collection Amount                       New Annual Collection Amount                      Current Annual Collection Amount

Annual Tax Amount                                                 $2,124.77                                            $2,120.87
Annual Insurance Amount                                           $1,045.00                                            $1,000.00
Annual MIP/PMI Amount                                                 $0.00                                                $0.00
Total Annual Escrow Collection Amount                             $3,169.77                                            $3,120.87




   Please see reverse for more information and Frequently Asked Questions about escrow
   analysis.
          Case 17-11351-TPA                   Frequently     Asked
                                               Doc Filed 11/16/20    Questions
                                                                  Entered 11/16/20 12:23:13            Desc Main
                                                            Document    Page 4 of 7
Why did my payment change?
   An increase or decrease in your payment may be a result of an increase or decrease in your
  property taxes and / or insurance premiums and may result in an escrow shortage or surplus. An
  increase or decrease in your taxes may be due to a property reassessment, a change in the tax
  rate, a change in an exemption or a special assessment. An increase or decrease in your hazard
  insurance premium may be caused by a change in / or amount of your insurance coverage, or an
  increase in your insurance rate.

Can my mortgage company provide me with information concerning why there were changes in
my tax payments, special assessments, or insurance premiums?
   We apologize but your mortgage company does not have information as to why your taxes
   insurance or special assessments have changed. Please contact your local tax office or your
   insurance agent for further assistance.

What should I do if I receive a tax bill?
  If you have an escrow account for taxes and the bill is for the current taxes due, we will obtain the
   tax bills from the tax collector. If you have an escrow account for taxes and the tax bill is for
   delinquent taxes due, please call us at 1-800-822-5626. If it is necessary to send a copy of your tax
   bill to us, please include your loan number and forward it to:

                                                         PNC Bank
                                                         Attn: Tax Department-B6-YM13-01-7
                                                         P.O. Box 1804
                                                         Dayton, OH 45401-1804

     •     PA, CA, VA, MD, NJ, ID, IA, ME, and CT Customers: Supplemental or special / additional
           assessment tax is not escrowed. You will be responsible for paying these bills.

What should I do if I receive an insurance renewal notice and a bill requesting payment?
  If you have an escrow account for insurance, please forward a copy of your bill with your loan
  number to:
                                PNC Bank, National Association
                                ISOA ATIMA
                                P.O. Box 7433
                                Springfield, OH 45501
                                888-229-5429

If there is a shortage in my escrow account, what should I do?
    You may pay the shortage in your escrow account using the coupon attached to the escrow
     analysis. Upon receipt of the payment of the shortage, we will adjust your payment to reflect the
     lower payment amount. If you choose not to pay the shortage, the shortage will be spread over the
     next 12 months, interest free. In either case, your payment will be adjusted to reflect the new
     amount. If you currently use a coupon book for remitting your payment, a new book will be sent to
     you within 20 days of the original escrow analysis.

My payment is deducted from my checking account each month, if my payment changed do I
need to do anything to adjust the payment amount currently being deducted?
   If your payment is deducted from your checking account each month, the new payment amount will
   automatically be deducted from your account.

For future reference, please note the following methods available for you to contact us:


          Website / Online Loan Information                                     Voice Connect / Customer Service
    Account Access 24 hours a day – 7 days a week                              Convenient • Toll-Free • Easy-To-Use
              pnc.com/homehq                                                         1-800-822-5626

Mailing Addresses:
            Customer Service Inquiries                                                Overnight / Express Mail
                                                                                            Payments
                    PNC Bank
         Attn: Customer Service Research                                                      PNC Bank
                   B6-YM07-01-7                                                          2012 Corporate Lane
                  P.O. Box 1820                                                               Suite 108
              Dayton, OH 45401-1820                                                       Naperville, IL 60563

PNC Bank, a division of PNC Bank, National Association
                                                              REPRESENTATION OF PRINTED DOCUMENT
                  Case 17-11351-TPA        Doc
                                P.O. Box 1820                           Filed 11/16/20 Entered 11/16/20 12:23:13
                                                                                                     ESCROW       Desc Main
                                                                                                             ACCOUNT
                                                                         Document
                                                   Dayton, Ohio 45401-1820
                                                   Website: pnc.com/homehq
                                                                                      Page 5 of 7 DISCLOSURE  STATEMENT
                                                   Customer Service 1-800-822-5626                                                 LOAN NUMBER:
                                                                                                                                          DATE:                        November 06, 2020

                                                                                                                                   PROPERTY ADDRESS:
                                                                                                                                      2170 THOMPSON HILL RD
                                                                                                                                      RUSSELL, PA 16345


                   DAVID C OBERG
                   145 ELDRED CENTER RD
                   GRAND VALLEY PA 16420-4307




    CURRENT MONTHLY MORTGAGE PAYMENT
    Principal & Interest                                                             501.63          Æ                          NEW PAYMENT INFORMATION
                                                                                                                   Principal & Interest                                                            501.63

                                                                                                     Æ
    Escrow                                                                           260.07                        Escrow                                                                          264.15
    Prorated Escrow Shortage                                                          74.26                        Prorated Escrow Shortage                                                          4.82
    Total Payment                                                                    835.96                        Total Payment                                                                   770.60

                                                                                                     Æ
                                                                                                                   New Payment Effective Date                                                    01/01/21



                                                                              COMING YEAR ESCROW PROJECTION
   This statement provides a detailed summary of activity related to your escrow account. PNC Bank maintains your escrow account to pay such items as property taxes,
   insurance premiums, and mortgage insurance.
   This section lists a 12-month running escrow balance to determine the appropriate target balance and to determine if a shortage or surplus exists. This is a projection of the
   anticipated activity in your escrow account for the coming 12 months.

     ANTICIPATED ESCROW DISBURSEMENT                                         PAYMENTS                                                              PAYMENTS              CUR BAL              REQ BAL
                                                               MONTH        TO ESCROW                       DESCRIPTION                          FROM ESCROW           PROJECTION           PROJECTION
 HAZARD INS                                    $1,045.00
                                                                                                         BEGINNING BALANCE                                                 1,262.83             1,320.72
 CITY TAX                                       $887.61
                                                               January             264.15                                                                                    1,526.98             1,584.87
 TAXES                                         $1,237.16
                                                               February            264.15                                                                                    1,791.13             1,849.02
                                                               March               264.15                 HAZARD INS                               1,045.00                  1,010.28             1,068.17
                                                               April               264.15                                                                                    1,274.43             1,332.32
                                                               May                 264.15                                                                                    1,538.58             1,596.47
                                                               June                264.15                                                                                    1,802.73             1,860.62
 TOTAL DISBURSEMENTS                           $3,169.77
                                                               July                264.15                                                                                    2,066.88             2,124.77
 DIVIDED BY 12 MONTHS                                          August              264.15                                                                                    2,331.03             2,388.92
                                                               September           264.15                   CITY TAX                                 887.61                  1,707.57             1,765.46
 MONTHLY ESCROW DEPOSIT                          $264.15       September                                  SCHOOL TAX                               1,237.16                    470.41 *             528.30 **
                                                               October             264.15                                                                                      734.56               792.45
   CALCULATION OF ESCROW ADJUSTMENT                            November            264.15                                                                                      998.71             1,056.60
                                                               December            264.15                                                                                    1,262.86             1,320.75
 BEGINNING PROJECTED BALANCE                   $1,262.83       * The projected escrow balance at the low point.
 BEGINNING REQUIRED BALANCE                    $1,320.72       ** The lowest balance the escrow account should attain during the projected period.


 ESCROW SHORTAGE                                   $57.89
                                                                                                               MORE INFORMATION ON REVERSE SIDE
The required minimum balance allowed by
federal law (RESPA) is two times your monthly
escrow payment (excluding MIP/PMI), unless
your mortgage document or state law specifies
a lower amount.



                                                                               IMPORTANT MESSAGES
  Make your check, money order or cashier's check payable to PNC Bank. All Payments must be funds from a U.S. Bank Account and are subject to PNC's acceptance. Do NOT
  send cash by mail.




We understand that you have filed for bankruptcy and have not yet received a discharge. None of the information requested in this statement will be used for the collection of any debts or for purposes
prohibited by the Bankruptcy Code or other applicable Federal or state law.




                                                                                  INTERNET REPRINT
                                                                              ESCROW SHORTAGE COUPON

                                                                                                             Account Number:                                   Shortage Amount: $57.89
Customer Name: DAVID C OBERG
                                                                                                             If you wish to pay the shortage amount in full, please mail a check for the
                                                                                                             shortage amount, along with this coupon, in the envelope provided. When
         PNC BANK                                                                                            paying your escrow shortage, please do not make your payment via electronic
                                                                                                             on-line banking, as it will not be applied directly to escrow. Payment should be
         PO BOX 6534
                                                                                                             remitted no later than 15 business days after receipt of this notification. Your
         CAROL STREAM IL 60197-6534                                                                          new monthly mortgage payment will be reduced to $765.78 once you pay the
                                                                                                             shortage amount. In order to avoid a delay in the processing of your
                                                                                                             payment, please DO NOT include your mortgage payment with the
                                                                                                             shortage payment.




        This is a copy of your escrow shortage coupon. If you cannot find your original statement, please contact Customer Service at
        800-822-5626 to request a new statement or click the link above to pay your escrow shortage online. Please DO NOT print and mail a
        copy of this coupon with your payment, because it may cause a delay in the posting of your payment.
                                      Case 17-11351-TPAESCROW
                                                         Doc ACCOUNT
                                                              Filed 11/16/20   EnteredSTATEMENT
                                                                        DISCLOSURE     11/16/20 12:23:13                                         Desc Main
                                                              Document       Page 6 of 7
        LOAN NUMBER:                                                                                                                           DATE: November 6, 2020

        Your projected escrow balance as of 12/31/20 is $1,262.83. Your required beginning escrow balance, according to this analysis, should be $1,320.72.
        This means you have a shortage of $57.89. We have divided the shortage interest-free, over 12 months. If you choose to pay the shortage in full, then
        your new monthly mortgage payment will be reduced to $765.78.
        Once during this analysis period, your required escrow balance should be reduced to a target balance of $528.30, as it does in September. Under Federal
        law, your target balance should not exceed an amount equal to two months of escrow payments for taxes and insurance, unless your mortgage document or
        state law specifies a lower amount.

        Projected Activity from the Previous Analysis
        This is a projection of the activity for your escrow account from the Previous Analysis. This projection was based on the disbursements anticipated to be
        made from your escrow account. Compare this projection to the actual escrow activity in the Account History (summarized below).
        The escrow payment in this projection may not equal the escrow payment in the Account History if an adjustment was made to collect a shortage or refund
        a surplus.
        Adjustments to the payment and differences between the anticipated and actual disbursements may prevent the actual balance from reaching the projected
        low escrow balance.
            Date                                          Description                                Payments                  Disbursements                                                                                                        Balance
                                                          BEGINNING BALANCE                                                                                                                                                                        1,300.38
         01/20                                                                                         260.07                                                                                                                                      1,560.45
         02/20                                            HAZARD INS                                   260.07                       1,000.00                                                                                                         820.52
         03/20                                                                                         260.07                                                                                                                                      1,080.59
         04/20                                                                                         260.07                                                                                                                                      1,340.66
         05/20                                                                                         260.07                                                                                                                                      1,600.73
         06/20                                                                                         260.07                                                                                                                                      1,860.80
         07/20                                                                                         260.07                                                                                                                                      2,120.87
         08/20                                                                                         260.07                                                                                                                                      2,380.94
         09/20                                            CITY TAX                                     260.07                         880.73                                                                                                       1,760.28
         09/20                                            SCHOOL TAX                                                                1,240.14                                                                                                         520.14 **
         10/20                                                                                         260.07                                                                                                                                        780.21
         11/20                                                                                         260.07                                                                                                                                      1,040.28
         12/20                                                                                         260.07                                                                                                                                      1,300.35
        TOTAL                                                                                        3,120.84                       3,120.87

        Account History
        This is a statement of actual escrow account activity from November 2019 through December 2020. Compare it to the Projected Activity from the Previous
        Analysis which appears above the Account History.
        Your total mortgage payment during the past year was $835.96 of which $501.63 was your Principal and Interest payment and $260.07 was your escrow
        payment.
             Date                  Description                                             Payments                Disbursements                   Balance
                                   BEGINNING BALANCE                                                                                                 420.64
            11/19                                                                            415.34                                                  201.55
            12/19                                                                            219.09                                                  420.64
            01/20                                                                            334.33                                                  754.97
            02/20                  HAZARD INS                                                                            1,045.00 *                 -290.03
            03/20                                                                            668.66                                                  378.63
            05/20                                                                            668.66                                               1,047.29
            06/20                                                                            334.33                                               1,381.62
            08/20                                                                          1,002.99                                               2,384.61
            09/20                  CITY TAX                                                                                887.61 *               1,497.00
            09/20                  SCHOOL TAX                                                                            1,237.16 *                  259.84
            10/20                                                                            334.33                                                  594.17
            11/20                                                                            334.33                                                  928.50
            12/20                                                                            334.33 e                                             1,262.83
         TOTAL                                                                             4,646.39                      3,169.77
        * Indicates a difference from projected activity either in the amount or the date.
        ** Required minimum escrow balance.
        "e" Indicates estimates for future payments or disbursements.
        If you have any questions about this analysis statement, please visit us at pnc.com/homehq to send us an email, write to us at PNC Bank; Attention:
        Customer Service Research; B6-YM07-01-7, PO Box 1820; Dayton, OH 45401 or call our Customer Service Department toll free number 1-800-822-5626.




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          Do not cash if you do not




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Case 17-11351-TPA           Doc   Filed 11/16/20 Entered 11/16/20 12:23:13          Desc Main
                                  Document      Page 7 of 7
                                        UNITED STATES BANKRUPTCY
                                      COURT FOR THE WESTERN DISTRICT
                                          OF PENNSYLVANIA (Erie)




 IN RE: Milton L. Wallace                        Case No. 17-11351
                                                 Judge Thomas P. Agresti
                                                 Chapter 13



                                  CERTIFICATE OF SERVICE OF
                            NOTICE OF MORTGAGE PAYMENT CHANGE

        I, the undersigned, hereby certify that, on 11/16/2020 a true and correct copy
of the Notice of Mortgage Payment Change was electronically served upon the
following using the Court’s CM/ECF system:

Debtor’s Attorney: Daniel P. Foster
Trustee: Ronda J. Winnecour
Office of the United States Trustee

       Further, I certify that, on 11/16/2020 a true and correct copy of the Notice of
Mortgage Payment Change was forwarded via U.S. Mail, first class postage prepaid and
properly addressed, to the following at the address shown below:

Milton L. Wallace
2170 Thompson Hill Road
Russell, PA 16345                                        By: /s/ Marika Dienes
                                                         Marika Dienes
                                                         PNC Bank, N.A
                                                         3232 Newmark Drive
                                                         Miamisburg, OH 45342
                                                         (866) 754-0659
